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                     UNITED STATES DISTRICT COURT S;. . i. i AH Di V.
                     SOUTHERN DISTRICT OF GEORGIAn ffo lo pv r • r.f
                             SAVANNAH DIVISION                       ' ni ii-Uj

UNITED STATES OF AMERICA               )          CR416-224 sSTufsTOFS"

        V.                             )
                                       )
EUGENE CURTIS                          )

                     CONSENT ORDER OF FORFEITURE


       WHEREAS, on June 7, 2016, a federal grand jury sitting in the Southern

District of Georgia returned a 36-count Indictment against Defendant Eugene

Curtis and seven others charging violations of 21 U.S.C. § 846 (Count 1 -

Conspiracy to Possess with Intent to Distribute and Distribute Controlled

Substances); 21 U.S.C. § 841(a)(1) (Counts 2 through 3, 20-23, 26, and 30 -

Possession of Cocaine with Intent to Distribute); 18 U.S.C. § 922(g)(1)(Counts 4 and

25- Possession of Ammunition by a Convicted Felon); 21 U.S.C. § 841(a)(1)(Counts

5-19 - Possession with Intent to Distribute Marijuana); 18 U.S.C. § 922(g)(1)

(Counts 24, 27, and 29- Possession of Firearms by a Convicted Felon); 18 U.S.C. §

924(c)(l)(A)(ii) (Count 28 - Use, Carry and Brandish a Firearm During a Drug

Trafficking Crime); and 21 U.S.C. § 843(b)(Counts 31-36- Use of a Communication

Facility);

       WHEREAS,the Indictment sought forfeiture pursuant 21 U.S.C. § 853 of any

property constituting or derived &om any proceeds obtained directly or indirectly as

a result of such offenses, and any property used or intended to be used, in any
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